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                           UNITED STATES DISTRICT COURT
                            MIDDLE DISTRICT OF FLORIDA
                                ORLANDO DIVISION


  JOSE J. AYALA, JR. and                         )
  JEFF SANTOS on behalf                          )
  of themselves and                              )
  as representative of                           )
  other class members                            )
  similarly situated,                            )
                                                 )
          Plaintiff,                             )
                                                 )
  v.                                             ) Case No. 6:20-cv-01625-RBD-GJK
                                                 )
  NISSAN NORTH AMERICA,                          )
  INC.                                           )
                                                 )
          Defendant.                             )
                                                 )

                               DECLARATION OF PAUL ROGERS

  I, Paul Rogers, hereby state and declare as follows:

          1.       I am over twenty-one (21) years of age. I have personal knowledge and am

  competent to testify as to the facts stated in this Declaration. If called and sworn as a witness, I

  would testify to these facts. I understand that this Declaration may be used for a variety of purposes

  in litigation.

          2.       I have worked for Nissan North America, Inc. (“Nissan”) since 2006 and have held

  various roles, including Warranty Call Center Supervisor, Fixed Operations Manager, Aftersales

  Development Manager, Service Development Manager, and Regional Aftersales Manager. I

  currently hold the position of Senior Warranty Manager. Based on my experience at Nissan, I

  have personal knowledge of Nissan’s business operations, its relationships with its independent

  dealers, the administration of its warranty plans and programs, and the processes by which Nissan
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         6.      Many dealer groups have multiple brands and sell and service other automobiles.

  For example, the Sutherlin automotive group includes not only independent Nissan dealers, but

  also independent Mitsubishi, Hyundai, and Volkswagen dealers. Like all new car dealers, Nissan

  dealers sell and service virtually all brands of used automobiles.

         7.      Nissan, like other automobile manufacturers, offers to consumers a factory

  warranty on all new Nissan vehicles. The warranty provides the terms under which Nissan agrees

  to cover the cost of repairs performed at an authorized Nissan dealer. Nissan also offers other

  warranties and maintenance plans for its automobiles (e.g., certified pre-owned warranty).

         8.      Nissan does not employ “service technicians” to service consumers’ vehicles.

  Instead, the independently owned and operated Nissan dealers perform work covered by a Nissan

  warranty. Independent dealers also perform non-warranty, or customer-paid, work both on Nissan

  automobiles and on other brands. Generally, Nissan dealers will perform maintenance and repair

  work on any vehicle a customer may bring to the dealer.

         9.      The service departments at new car dealers, including Nissan dealers, generally

  perform three categories of service work: warranty; customer-paid; and internal. Under Florida

  law, all warranty work must be done by an authorized independent dealer. Customer-paid work is

  work performed by a dealer which is paid for by the customer. Internal service is work done for

  the benefit of the dealer itself such as preparing a used vehicle for retail sale. Although it varies

  from dealer to dealer, and by time period, independent Nissan dealers typically perform more

  customer-paid work than Nissan warranty work. To my knowledge, all four Nissan independent

  dealers for which Plaintiffs Jose J. Ayala, Jr. and Jeff Santos worked (Sutherlin Nissan of Orlando;

  Universal Nissan of Orland; Reed Nissan of Orlando; and Reed Nissan of Clermont) performed

  more customer-paid work than warranty work in each year from 2018 to 2021.



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          10.    Florida law requires Nissan, like all other new car brands, to compensate its

  independent dealers for performing maintenance and repair work covered under a factory

  warranty. Florida law also strictly regulates the timing and amount of the compensation Nissan

  must provide to its independent dealers for warranty work.

          11.    For example, Florida law requires Nissan to compensate its dealers for warranty

  work at an “approved labor rate.” The approved labor rate is the hourly rate Nissan pays its

  independent dealers for performing warranty work. Under Florida law, Nissan and its independent

  dealers can agree on the approved labor rate and, if they do not agree, there is a statutorily

  proscribed process for determining the labor rate.

          12.    Nissan pays its independent dealers for warranty claims based on a “flat-rate time”

  multiplied by the dealer’s approved labor rate. The “flat-rate time” is the time Nissan has

  determined it should take the “average” service technician to complete a certain repair. Nissan

  performs time studies and research to determine appropriate and reasonable flat-rate times for any

  given repair that might be covered by warranty. Florida law requires that Nissan (and all other

  automobile manufacturers) establish reasonable flat-rate times in its warranty repair manuals and

  warranty guides and prohibits Nissan (and all other automobile manufacturers) from eliminating

  flat-rate times or establishing unreasonable flat-rate times. Nissan’s flat-rate times typically

  overestimate the actual time that a repair should take to complete. An experienced service

  technician should be able to complete any given repair in less time than Nissan’s flat-rate time for

  the repair.

          13.    Each Nissan dealer has its own approved labor rate. The labor rate, which is

  generally based on the retail labor rate the dealer charges its retail customers, varies from dealer

  to dealer. The approved labor rates for Sutherlin Nissan of Orlando; Universal Nissan of Orlando;



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  Reed Nissan of Orlando; and Reed Nissan of Clermont for 2017-2021 are set forth in the table

  below:

                         2017              2018                2019           2020            2021

   Sutherlin Nissan      $125/hour         $125/hour (until $128/hour         $128/hour       $132/hour
   (Orlando)                               2/16/2018)                                         (effective
                                                                                              3/23/2021)
                                           $128/hour
                                           (effective
                                           2/16/2018)
   Universal Nissan $113.77/hour           $123.75/hour        $123.75/hour $129/hour         $269.89/hour
   (Orlando)        (until                                                  (effective        (effective
                    5/18/2017)                                              6/5/2020)         6/11/2021)

                        $123.75/hour                                        $130.09/hour
                        (effective                                          (effective
                        5/18/2017)                                          9/8/2020)
   Reed          Nissan $101.23/hour       $101.23/hour        $125.52/hour $125.52/hour $125.52/hour
   (Orlando)                               (until 11/1/2018)

                                          $125.52/hour
                                          (effective
                                          11/1/2018)
   Reed Nissan           $110/hour (until $115/hour            $115/hour      $126/hour       $126/hour
                           12/1/2017)                          (until
                                                               1/16/2019)
                            $115/hour
                             (effective                        $126/hour
                            12/1/2017)                         (effective
                                                               1/16/2019)


           14.     Nissan’s approved labor rates and flat-rate times determine the amount that Nissan

  must pay its independent dealer for approved and authorized warranty work on a Nissan vehicle.

  The amount Nissan pays to the dealer for a particular warranty repair is totally separate from what

  the dealer pays its technicians who perform that work. What and how dealers pay their technicians

  is determined solely by the dealer without any input or involvement from Nissan. The amount

  paid to a technician is based on the terms and conditions set by that dealer and varies from dealer


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  automobiles. Specifically, Nissan makes available to its dealers an “Electronic Service Manual,”

  which outlines how to perform repairs on Nissan automobiles. Nissan expects its independent

  dealers to perform warranty repairs in accordance with the Electronic Service Manual because

  Nissan’s flat-rate times are based on these repair procedures. Service shops other than independent

  dealers’ and members of the general public can access Nissan’s Electronic Service Manual and

  technical service bulletins through Nissan’s technical information websites: www.nissan-

  techinfo.com and www.infiniti-techinfo.com.

            22.   When a dealer submits a warranty claim, Nissan pays the dealer for the claim

  according to the flat-rate time for a given repair regardless of how long the repair actually took

  the dealer to complete. Thus, for example, if the flat-rate time for a particular repair is two hours

  and the dealer’s approved labor rate is $125/hour, Nissan will pay the dealer $250 for that repair,

  even if the technician performing the repair was able to complete the job in one hour. Nissan does

  not know how long any given repair actually took, including whether, for example, the service

  technician completed the repair in far less time than the flat-rate time for which Nissan paid the

  dealer.

            23.   Nissan also does not know how many hours any service technician works on any

  given day, what “non-repair” tasks the technician performs, or how or how much the independent

  dealer pays the technician. Each dealer determines and controls those matters for itself without

  any input or involvement from Nissan.

            24.   Nissan approves and pays approximately ninety-five percent (95%) of warranty

  claims “first time” (i.e., after the first submission), with additional claims paid after the

  independent dealer provides or substantiates the required information. On rare occasion, however,

  Nissan has to reject a warranty claim. The rejection simply means that Nissan will not pay the



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  independent dealer for that specific claim. Nissan does not know whether a rejected claim has any

  effect on the compensation for the service technician who performed the work because the dealer

  makes all compensation decisions for its service technicians without any input or involvement

  from Nissan.

         25.     As noted above, in addition to warranty work, independent dealers also perform

  customer-paid work both on Nissan automobiles and on automobiles from other manufacturers.

  The individual customer, not Nissan, pays the dealer for such work. There is no claim submitted

  to Nissan for customer-paid work. In my experience, some dealers employ non-certified service

  technicians to perform customer-paid work. Nissan has no knowledge of who these non-certified

  service technicians may be, what work they may perform, or the terms and conditions of their

  employment.

         26.     The APRM does not provide any guidance on, and is not applicable to, customer-

  paid work. Nissan plays no role in determining how much independent dealers charge their

  customers for customer-paid work, who performs the customer-paid work, or how the customer-

  paid work is performed. Nissan plays no role in how its independent dealers compensate their

  service technicians for customer-paid work (or any work, for that matter).

         27.     Based on my work calling on and consulting with independent dealers, I understand

  that some Nissan dealers pay their service technicians a different piece rate for customer-paid work

  than for warranty work, but Nissan has no say in that determination. Each independent dealer

  makes its own compensation decisions for its service technicians.

         28.     As explained above, Nissan compensates its independent dealers for warranty

  claims. Nissan, however, does not compensate the independent dealers’ service technicians and

  plays no role in determining their methods or rates of pay. Each independent dealer is responsible



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   for paying and supervising its service technicians, and Nissan does not know how or how much

   any particular independent dealer pays its service technicians.

          29.     Independent dealers have to compete in the marketplace to attract and retain service

   technicians and have developed different compensation methods for doing so. Again, based on

   my experience, I understand that some dealers pay their service technicians on an hourly basis

   while others use a piece rate system. Some dealers guarantee a certain number of hours per week,

   including overtime, while others guarantee a minimum number of weekly repairs under the piece

   rate system. I have also seen some independent dealers use a “pooling” arrangement under which

   service technicians work in teams, and each member of the team receives a certain percentage of

   the labor hours attributable to that team with the dealer’s management deciding how to distribute

   the labor hours for each member of the team. I have also seen some dealers use “Master

   Technicians” whom they pay on a salary basis. Again, Nissan plays no role in any of this.

          30.     Nissan also plays no role in whether an independent dealer requires service

   technicians to purchase their own tools. Based on my experience in the industry, some dealers

   have fully equipped tool shops and provide service technicians with all the needed tools. Other

   dealers require the service technician to bring his or her own tools as a condition of employment.

   Some dealers provide a bonus for a new service technician to bring his or her own toolbox while

   others give their service technicians gift cards or tool allowances. Nissan plays no role in these

   matters.

          31.     Nissan does require certain “essential” or “special” tools for the performance of

   certain warranty work. But it is the dealers -- not the service technicians -- who purchase these

   “essential” or “special” tools directly from Nissan. Nissan has never required an independent

   dealers’ service technicians to purchase any tool.



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   Executed on this 28th day of January 2022.




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                                                                PAUL ROGERS




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